                           1                                        EXHIBIT D

                           2                      DETAILED TIME ENTRIES FOR THE PERIOD
                                                 FROM APRIL 1, 2020 THROUGH APRIL 30, 2020
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Morrison & Foerster LLP

San Francisco, CA 94105




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Matter Number: 050386-0000020                                                        Invoice Number: 5911904
Matter Name: CPUC INVESTIGATION/OII                                                  Invoice Date: May 15, 2020




                                                        Time Detail

Date            Services                                            Timekeeper                 Hours               Value

C100 FACT GATHERING
07-Apr-20    C. Neitzey discovery questions.                        Barr, Sarah Elizabeth         0.40             202.30
Total: C100     C100 FACT GATHERING                                                               0.40             202.30

C312 CLIENT COUNSEL -STAT/REG/JUDICIAL
01-Apr-20    Correspond with client regarding strategy in           Hill, Joshua                  0.60             543.15
             response to request for review.
02-Apr-20       Correspond with S. Olinek (PG&E) regarding          Hill, Joshua                  0.10              90.53
                briefing strategy.
12-Apr-20       Correspond with client regarding procedural         Hill, Joshua                  0.30             271.58
                posture and Commission's meeting agenda.
14-Apr-20       Correspond with client regarding procedural         Hill, Joshua                  0.30             271.58
                options following Commission decision.
20-Apr-20       Correspond with E. Seals (PG&E) regarding           Hill, Joshua                  0.30             271.58
                interpretation of POD.
21-Apr-20       Call with client regarding tax modification.        Hill, Joshua                  0.50             452.63
21-Apr-20       Call with client regarding tax modification.        Neitzey, Christina Nic        0.50             252.88
22-Apr-20       Correspond with S. Olinek (PG&E) regarding          Hill, Joshua                  0.20             181.05
                impact of tax modification.
24-Apr-20       Correspond with S. Olinek (PG&E) regarding          Hill, Joshua                  0.20             181.05
                effective date of settlement agreement.
Total: C312     C312 CLIENT COUNSEL -STAT/REG/JUDICIAL                                            3.00            2,516.03

P100 PROJECT ADMINISTRATION
02-Apr-20    Revise CPUC submissions file.                          Middleman, Caitlin K.         0.30              94.35
09-Apr-20       Revise CPUC submissions file.                       Middleman, Caitlin K.         1.60             503.20
13-Apr-20       Revise CPUC submissions file.                       Middleman, Caitlin K.         0.30              94.35
16-Apr-20       Revise CPUC submissions file.                       Middleman, Caitlin K.         0.60             188.70
21-Apr-20       Revise CPUC submissions file.                       Middleman, Caitlin K.         0.30              94.35
22-Apr-20       Revise CPUC submissions file.                       Middleman, Caitlin K.         0.30              94.35
30-Apr-20       Revise CPUC submissions file.                       Middleman, Caitlin K.         2.30             723.35
Total: P100     P100 PROJECT ADMINISTRATION                                                       5.70            1,792.65

P210 CORPORATE REVIEW
19-Apr-20   Analyze and provide comments on draft securities        Hill, Joshua                  0.40             362.10
            filings.



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Date            Services                                                Timekeeper                 Hours               Value
20-Apr-20       Draft language for securities filing regarding          Hill, Joshua                  0.60             543.15
                decision different.
26-Apr-20       Analyze draft 10-Q and circulate revisions to same.     Hill, Joshua                  0.60             543.15
27-Apr-20       Analyze and revise draft 10-Q per J. Lloyd.             Hill, Joshua                  0.70             633.68
30-Apr-20       Analyze 10-Q language regarding decision                Hill, Joshua                  0.10              90.53
                different.
Total: P210     P210 CORPORATE REVIEW                                                                 2.40            2,172.61

P300 STRUCTURE/STRATEGY/ANALYSIS
01-Apr-20   Correspond with C. Neitzey regarding research on            Hill, Joshua                  0.50             452.63
            procedural options.
01-Apr-20       Research procedural issue regarding next steps for      Neitzey, Christina Nic        2.00            1,011.50
                POD appeal.
01-Apr-20       Draft response to Del Monte appeal of POD.              Neitzey, Christina Nic        3.20            1,618.40
02-Apr-20       Call with settling parties to discuss response to       Hill, Joshua                  1.00             905.25
                request for review.
02-Apr-20       Correspond with internal working group regarding        Hill, Joshua                  0.20             181.05
                procedural expectations.
02-Apr-20       Analyze proposed outline for response to Del            Hill, Joshua                  0.60             543.15
                Monte appeal.
02-Apr-20       Draft response to request for review.                   Hill, Joshua                  8.30            7,513.58
02-Apr-20       Draft response to Del Monte appeal of POD.              Neitzey, Christina Nic        6.10            3,085.08
03-Apr-20       Draft brief in response to request for review.          Hill, Joshua                  2.70            2,444.18
03-Apr-20       Draft response to Del Monte appeal of POD.              Neitzey, Christina Nic        9.00            4,551.75
05-Apr-20       Analyze and provide comments on draft response to       Hill, Joshua                  1.60            1,448.40
                Del Monte appeal.
05-Apr-20       Analyze comments received on draft response to          Hill, Joshua                  0.50             452.63
                request for review.
05-Apr-20       Analyze and draft summary of TURN response to           Neitzey, Christina Nic        0.70             354.03
                PG&E motion seeking other relief in response to
                POD.
05-Apr-20       Draft response to Del Monte appeal of POD.              Neitzey, Christina Nic        0.20             101.15
06-Apr-20       Analyze comments and revise draft of response to        Hill, Joshua                  2.30            2,082.08
                request for review.
06-Apr-20       Analyze and revise draft response to Del Monte          Hill, Joshua                  1.00             905.25
                appeal.
06-Apr-20       Cite check response to commissioner's request for       Middleman, Caitlin K.         5.70            1,792.65
                review.
06-Apr-20       Draft response to Del Monte appeal of POD.              Neitzey, Christina Nic        8.10            4,096.58
07-Apr-20       Analyze and revise draft response to Del Monte          Hill, Joshua                  0.70             633.68
                appeal.


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Date          Services                                             Timekeeper                 Hours               Value
07-Apr-20     Revise draft response to request for review.         Hill, Joshua                  0.60             543.15
07-Apr-20     Cite check response to Del Monte appeal.             Middleman, Caitlin K.         3.60            1,132.20
07-Apr-20     Cite check revised response to request for review.   Middleman, Caitlin K.         4.90            1,541.05
07-Apr-20     Revise response to request for review.               Middleman, Caitlin K.         1.30             408.85
07-Apr-20     Draft response to request for review of POD and      Neitzey, Christina Nic        3.60            1,820.70
              response to Del Monte appeal of POD.
07-Apr-20     Correspond with C. Neitzey regarding discovery.      Nicholson, Julie A.           0.20             141.95
08-Apr-20     Analyze and revise draft response to request for     Hill, Joshua                  0.80             724.20
              review.
08-Apr-20     Analyze and revise response to Del Monte motion.     Hill, Joshua                  0.60             543.15
08-Apr-20     Fact check response to Del Monte appeal.             Middleman, Caitlin K.         6.10            1,918.45
08-Apr-20     Revise response to Del Monte appeal.                 Middleman, Caitlin K.         0.90             283.05
08-Apr-20     Draft responses to Del Monte appeal of POD and       Neitzey, Christina Nic        5.10            2,579.33
              request for review of POD.
09-Apr-20     Analyze EPUC motion for party status and relevant    Hill, Joshua                  0.30             271.58
              CPUC rules regarding same.
09-Apr-20     Call with C. Neitzey regarding filings in response   Hill, Joshua                  0.60             543.15
              to appeal and request for review.
09-Apr-20     Correspond with internal working group regarding     Hill, Joshua                  0.40             362.10
              response to Del Monte appeal and SED comment.
09-Apr-20     Analyze TURN and SED responses to PG&E               Hill, Joshua                  0.50             452.63
              motion and request for relief.
09-Apr-20     Draft and finalize responses to request for review   Neitzey, Christina Nic        2.40            1,213.80
              and Del Monte appeal of POD.
09-Apr-20     Call with J. Hill regarding filings in response to   Neitzey, Christina Nic        0.60             303.45
              appeal and request for review.
10-Apr-20     Analyze responses filed on April 9 and summarize     Hill, Joshua                  1.90            1,719.98
              same for internal working group.
10-Apr-20     Analyze and draft summary of responses to appeal     Neitzey, Christina Nic        4.60            2,326.45
              of POD and to request for review of POD.
13-Apr-20     Analyze procedural options upon ruling by            Hill, Joshua                  1.50            1,357.88
              Commission.
13-Apr-20     Research and draft summary of procedure for next     Neitzey, Christina Nic        0.40             202.30
              steps regarding Commission decision on proposed
              settlement.
14-Apr-20     Analyze and draft summary of Nelson and Canarra      Neitzey, Christina Nic        1.00             505.75
              filing.
16-Apr-20     Analyze potential appeal of MOD POD.                 Hill, Joshua                  0.40             362.10
16-Apr-20     Evaluate claims made by intervenor regarding open    Hill, Joshua                  0.70             633.68
              meetings act.



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Date          Services                                               Timekeeper                 Hours               Value
16-Apr-20     Correspond with internal working group regarding       Neitzey, Christina Nic        0.20             101.15
              Commission business meeting and Bagley Keene
              Act objection to consideration of settlement at
              meeting.
20-Apr-20     Call with H. Weissmann (Munger Tolles) regarding       Hill, Joshua                  0.20             181.05
              strategy.
20-Apr-20     Call with C. Neitzey regarding procedural options      Hill, Joshua                  0.50             452.63
              and strategy regarding decision different.
20-Apr-20     Analyze decision different.                            Hill, Joshua                  1.10             995.78
20-Apr-20     Revise draft of summary and strategy memorandum        Hill, Joshua                  1.20            1,086.30
              regarding decision different.
20-Apr-20     Analyze decision different from POD.                   Neitzey, Christina Nic        3.00            1,517.25
20-Apr-20     Call with J. Hill regarding procedural options and     Neitzey, Christina Nic        0.50             252.88
              strategy regarding decision different.
20-Apr-20     Analyze decision different.                            Wong, Christine Y.            1.00             828.75
21-Apr-20     Analyze strategy in response to decision different.    Hill, Joshua                  0.90             814.73
21-Apr-20     Analyze and supplement memorandum regarding            Hill, Joshua                  0.90             814.73
              recommendations for response to decision different.
21-Apr-20     Correspond with internal working group regarding       Neitzey, Christina Nic        0.20             101.15
              decision different from POD and next steps.
22-Apr-20     Research factual question regarding estimated          Neitzey, Christina Nic        0.60             303.45
              impact of tax modification and draft summary of
              findings.
23-Apr-20     Call with settling parties regarding response to       Hill, Joshua                  0.20             181.05
              decision different.
23-Apr-20     Outline response to decision different.                Hill, Joshua                  0.20             181.05
23-Apr-20     Draft comments on decision different from POD.         Neitzey, Christina Nic        1.90             960.93
26-Apr-20     Correspond with internal working group regarding       Hill, Joshua                  0.20             181.05
              modifications to decision different.
27-Apr-20     Draft comments in response to decision different       Hill, Joshua                  2.50            2,263.13
              and correspond with internal working group
              regarding same.
27-Apr-20     Correspond with internal working group regarding       Neitzey, Christina Nic        0.20             101.15
              comments on decision different.
27-Apr-20     Analyze correspondence regarding decision              Nicholson, Julie A.           0.20             141.95
              different strategy.
28-Apr-20     Revise multiple draft comments on decision             Hill, Joshua                  1.80            1,629.45
              different.
28-Apr-20     Analyze comments regarding draft comments on           Hill, Joshua                  0.60             543.15
              decision different.
28-Apr-20     Analyze draft of comments on decision different        Neitzey, Christina Nic        0.40             202.30
              from POD.


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Date            Services                                            Timekeeper                  Hours                Value
29-Apr-20       Cite check comments regarding decision different.   Middleman, Caitlin K.          0.90              283.05
29-Apr-20       Draft comments on decision different from POD.      Neitzey, Christina Nic         1.20              606.90
30-Apr-20       Analyze matters regarding finalizing response to    Hill, Joshua                   0.30              271.58
                decision different.
30-Apr-20       Finalize comments regarding decision different      Neitzey, Christina Nic         0.40              202.30
                from POD for filing.
30-Apr-20       Analyze filings regarding decision different.       Nicholson, Julie A.            0.40              283.90
Total: P300     P300 STRUCTURE/STRATEGY/ANALYSIS                                                 119.10            71,546.74

P400 INITIAL DOCUMENT PREPARATION/FILING
13-Apr-20     Correspond with internal working group regarding      Kissner, Andrew                0.10               59.50
              fee application.
15-Apr-20       Prepare CNO for MoFo's December fee statement       Guido, Laura                   0.40              127.50
                and finalize same
15-Apr-20       Coordinate preparation of December/January          Guido, Laura                   0.20               63.75
                consolidated fee statement.
16-Apr-20       Prepare and finalize MoFo's consolidated seventh    Guido, Laura                   1.40              446.25
                monthly fee statement and coordinate receipt of
                revised invoices for same.
16-Apr-20       Prepare supporting exhibits for consolidated        Guido, Laura                   0.20               63.75
                December/January fee statement.
16-Apr-20       Analyze and revise January fee application.         Kissner, Andrew                0.30              178.50
17-Apr-20       Finalize consolidated seventh monthly fee           Guido, Laura                   0.20               63.75
                statement for filing.
17-Apr-20       Correspond with local counsel regarding filing of   Kissner, Andrew                0.10               59.50
                fee application.
20-Apr-20       Analyze fee application backup and correspond       Kissner, Andrew                0.20              119.00
                with fee examiner regarding same.
24-Apr-20       Prepare MoFo's February fee statement.              Guido, Laura                   0.40              127.50
27-Apr-20       Prepare supporting exhibits for February fee        Guido, Laura                   0.20               63.75
                statement.
27-Apr-20       Prepare, finalize and compile MoFo's February fee   Guido, Laura                   1.00              318.75
                statement.
27-Apr-20       Analyze February fee statement and correspond       Kissner, Andrew                0.20              119.00
                with internal working group regarding same.
28-Apr-20       Correspond with local counsel regarding filing of   Kissner, Andrew                0.10               59.50
                fee statement.
29-Apr-20       Analyze invoice backup and correspond with fee      Kissner, Andrew                0.20              119.00
                examiner regarding same.
30-Apr-20       Analyze correspondence from fee examiner and        Kissner, Andrew                0.70              416.50
                draft response to same.



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Date             Services                                             Timekeeper                  Hours                Value
Total: P400      P400 INITIAL DOCUMENT PREPARATION/FILING                                            5.90             2,405.50

Time Entry Review
14-Apr-20       Correspond with billing team regarding outstanding    Kissner, Andrew                0.20              119.00
                invoices.
15-Apr-20        Analyze and revise invoices for compliance with      Kissner, Andrew                0.40              238.00
                 U.S. Trustee's guidelines.
21-Apr-20        Revise invoices for compliance with U.S. Trustee's   Kissner, Andrew                0.20              119.00
                 guidelines.
24-Apr-20        Revise invoices for compliance with U.S. Trustee's   Kissner, Andrew                0.40              238.00
                 guidelines.
Total: Z032      Time Entry Review                                                                   1.20              714.00



                                                                                             Current Fees            80,635.83




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                                           Timekeeper Summary

           No.    Timekeeper                             Rate              Hours              Value
          21211   Hill, Joshua                          905.25              43.20          39,106.92
          23383   Wong, Christine Y.                    828.75               1.00             828.75
          23371   Barr, Sarah Elizabeth                 505.75               0.40             202.30
          19671   Kissner, Andrew                       595.00               3.10           1,844.50
          23787   Neitzey, Christina Nic                505.75              56.10          28,372.61
          16384   Nicholson, Julie A.                   709.75               0.80             567.80
          13849   Guido, Laura                          318.75               4.00           1,275.00
          16127   Middleman, Caitlin K.                 314.50              29.10           9,151.95
                  Client Accommodation - Time
                                                                                             (714.00)
                  Entry Review
                  TOTAL                                                    137.70          80,635.83




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                                         Task Code Summary

Task Code    Description                                                        Hours                Value
C100         C100 FACT GATHERING                                                   0.40               202.30
C312         C312 CLIENT COUNSEL -STAT/REG/JUDICIAL                                3.00             2,516.03
P100         P100 PROJECT ADMINISTRATION                                           5.70             1,792.65
P210         P210 CORPORATE REVIEW                                                 2.40             2,172.61
P300         P300 STRUCTURE/STRATEGY/ANALYSIS                                    119.10            71,546.74
P400         P400 INITIAL DOCUMENT PREPARATION/FILING                              5.90             2,405.50
Z032         Time Entry Review                                                     1.20               714.00
             Client Accommodation - Time Entry Review                                                (714.00)
             TOTAL                                                               137.70            80,635.83




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                                        Invoice Summary
                                                                                                U.S.Dollars

Total Fees                                                                                       80,635.83
Total Amount Due                                                                                 80,635.83




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For your convenience, we have listed below previous invoices on this matter which our records show as outstanding and the total
balance due on this account. If you have already submitted payment, we appreciate your promptness. If your records are not in
agreement, or if we can provide additional assistance, please call our Billing Department at (415) 268-6446 or (866) 314-5320

    Date         Invoice Number       Currency        Original Invoice Amount       Payments Applied        Amount Outstanding

 31-Dec-18           5788544            USD                           11,540.98                  0.00                  11,540.98

 14-Jan-19           5789728            USD                           53,273.86                  0.00                  53,273.86

 30-Sep-19           5855259            USD                          133,934.94                  0.00                 133,934.94

 30-Sep-19           5887635            USD                            1,491.75                  0.00                    1,491.75

 07-Nov-19           5864250            USD                          187,092.39            118,522.33                  68,570.06

 12-Nov-19           5872848            USD                           25,272.11             20,276.95                    4,995.16

 13-Nov-19           5872849            USD                          293,040.35            232,959.61                  60,080.74

 14-Nov-19           5872850            USD                          210,206.59            164,109.84                  46,096.75

 15-Nov-19           5872851            USD                          184,478.01            144,043.98                  40,434.03

 18-Nov-19           5872852            USD                          139,409.29            105,605.74                  33,803.55

 19-Nov-19           5872853            USD                          117,730.16             92,767.33                  24,962.83

 20-Nov-19           5872854            USD                          420,218.70            332,330.25                  87,888.45

 30-Jan-20           5885685            USD                          201,520.29                  0.00                 201,520.29

 07-Feb-20           5887765            USD                          332,996.02                  0.00                 332,996.02

 07-Feb-20           5887767            USD                          641,794.21                  0.00                 641,794.21

 24-Mar-20           5898691            USD                            2,696.60                  0.00                    2,696.60

 24-Mar-20           5898699            USD                          220,352.74                  0.00                 220,352.74

 15-Apr-20           5903880            USD                          199,276.15                  0.00                 199,276.15

 15-Apr-20           5904169            USD                             131.20                   0.00                      131.20

 24-Apr-20           5906885            USD                           62,808.84                  0.00                  62,808.84

 24-Apr-20           5906886            USD                             131.20                   0.00                      131.20

 30-Apr-20           5909251            USD                          137,409.59                  0.00                 137,409.59




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